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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

 v.                                         Case No. 1:21-cr-0509 (TSC)

 ANTONY VO,

                       Defendant.




MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S
            MOTION TO DISMISS THE INFORMATION

Dated: June 29, 2022

                                           Respectfully submitted,

                                           A.J. KRAMER
                                           FEDERAL PUBLIC DEFENDER


                                           ______/s/__________________
                                           Maria N. Jacob
                                           Assistant Federal Public Defender
                                           D.C. Bar No. 1031486
                                           625 Indiana Ave. NW, Ste. 550

                                           Nandan Kenkeremath
                                           DC Bar No. 384732



                                           Counsel for Defendants




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                                         BACKGROUND

       Defendant Antony Vo was arrested on July 21, 2021 and has been charged with criminal

violations under provisions 18 U.S.C.§§1752(a)(1) and (2) and 40 U.S.C. §§5104(e)(2)(D) and

(G). See ECF No. 1, Attachment 1 (Affidavit); ECF No. 8, Information.


       Notably absent in the Affidavit are specific allegations concerning Mr. Vo’s specific

actions either in the Capitol Building or Capital Grounds. There are no allegations in the

Affidavit that Mr. Vo challenged or disobeyed an order of the police. There is no allegation that

Mr. Vo, himself or in connection with a group, forcibly did anything. There is no indication or

allegation any other conduct by Mr. Vo other than the implied actions of walking, standing, and

taking pictures.

       ¶5 of the Affidavit does state, in part, that:

       Members of the Capitol police attempted to maintain order and keep the crowd from
       entering the Capitol; however, around 2:00 pm., individuals in the crowd forced entry
       into the U.S. Capitol including by breaking windows and by assaulting members of the
       U.S. Capitol Police, as others in the crowd encouraged and assisted in those acts.


       There is no allegation in the Affidavit that Mr. Vo was at the Capitol at the time, that he

was among individuals in the alleged crowd that allegedly forced entry into the U.S. Capitol, or

that Mr. Vo encouraged and assisted in those acts. There is no allegation that Mr. Vo operated in

collusion with anyone described in ¶5. The only allegations in ¶5 are that people, other than the

Defendant engaged in illegal or problematic conduct.

       ¶7 of the Affidavit alleges that during national news coverage of the aforementioned

events, video footage which appeared to be captured on mobile devices of persons present on the

scene depicted evidence of violations of local and federal law, including scores of individuals




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inside the U.S. Capitol building without authority to be there. However, ¶7 does not specify how

Mr. Vo was in violation of local or federal law.

       There is no allegation that Mr. Vo brought aerosol containers, non-aerosol sprays, any

pointed object, any bag larger than 18” wide x 14” high x 8.5” deep, electric stun guns, martial

arts weapons or devices, guns, replica guns, ammunition, fireworks, knives of any size, mace,

pepper spray, razors, or box cutters. There is no allegation that Mr. Vo talked loudly; touched art

objects including sculptures, statues, walls, and cases; leaned on walls, display cases, or

pedestals; sat on displays or sculptures; blocked doorways or aisles or sat on stairs or floors,

crossed into areas that are roped off; ran, pushed shoved, or took any actions that may endanger

other visitors or works of art. There is no allegation that Mr. Vo used language, an utterance, or

gesture, or engaged in a display or act that is obscene, physically threatening or menacing, or

done in a matter that is likely to inflict injury or incite an immediate breach of the peace.

       Furthermore, there is no allegation that a Congressional proceeding was underway at the

time that Mr. Vo was alleged to be in the Capitol and Capitol Grounds. Indeed, the allegations in

the Affidavit at ¶ 6 state that the joint session of the United States Congress was effectively

suspended at about 2:20 and did not resume until shortly after 8:00 pm.

       Lastly, the Affidavit does not identify any sign, police, or barriers in any picture. The

Affidavit does not allege facts that identify relevant signs, police, or barriers cordoning off any

area that were there for Mr. Vo to observe at the time of any alleged conduct. The Affidavit does

not allege that Mr. Vo knowingly saw a sign or crossed a cordon.




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                                             ARGUMENT


  I.      Legal Standard

    A. Initial General Standard for a Motion to Dismiss for Failure to State an Offense

          Before trial, a defendant in a criminal case may move to dismiss the charging document

for failure to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Akinyoyenu,

199 F. Supp. 3d 106, 109 (D.D.C. 2016)(Citations omitted). The operative question is whether

the allegations in the indictment, if proven, permit a jury to conclude that the defendant

committed the criminal offense as charged. Ankinyoyenu at 9-10. See United States v. Sanford,

Ltd., 859 F. Supp. 2d 102, 107 (D.D.C.2012); United States v. Bowdoin, 770 F. Supp. 2d 142,

146 (D.D.C.2011). Moreover, in analyzing this, “a district court is limited to reviewing the face

of the charging document and, more specifically, the language used to charge the crimes.”

United States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006)(emphasis original).


       B. The Information and Affidavit (I&A) Must Sufficiently Allege Facts Regarding All
          Necessary Elements Which, If Proven, Would Constitute A Crime Under the Relevant
          Criminal Statutes

          A valid information must set out "the elements of the offense intended to be charged and

sufficiently apprise the defendant of what he must be prepared to meet." United States v. Pickett,

353 F.3d 62,67 (D.C. Cir. 2004). The government must state the essential elements of the crime

and allegations of "overt acts [constituting the offense] with sufficient specificity." United States

v. Childress, 58 F.3d 693, 720 (D.C. Cir. 1995).

          A criminal complaint is also meant to satisfy at least two constitutional provisions. First,

it gives Sixth Amendment notice of the nature and circumstances of the alleged crime so the

accused may meet the charge and defend himself. United States v. Hitt, 249 F.3d 1010, 1016



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(D.C. Cir. 2001); Hamling v. United States, 418 U.S. 87, 117 (1974). Second, a valid indictment

fulfills the Fifth Amendment’s edicts that citizens are not placed in jeopardy twice for the same

offense. Stirone v. United States, 361 U.S. 212, 218 (1960); United States v. Martinez, 764

F.Supp.2d 166, 170 (D.D.C.2011) (quotations and citations omitted). That is, the allegations

must be sufficiently clear, complete, thorough enough, non-generic, and specific to the particular

Defendant to identify if the Defendant were later charged with the same offense that double

jeopardy applies to bar a second prosecution of the same offense.

       A criminal complaint fulfills these fundamental constitutional provisions when it sets out

both the elements of the crime and the factual circumstances that would satisfy those elements

when assumed true. Hamling, 418 U.S. at 118-19. A criminal complaint may be dismissed as

constitutionally insufficient when it does not join the elements with factual allegations. See

Russell v. United States, 369 U.S. 749, 763-771 (1962); United States v. Hillie, 227 F. Supp. 3d

57 (D.D.C. Jan. 5, 2017). The Supreme Court explained:


       “[The second object of an indictment is] to inform the court of the facts alleged, so that it
       may decide whether they are sufficient in law to support a conviction. For this, facts are
       to be stated, not conclusions of law alone.” United States v. Cruikshank, 92 U.S. 542, 558
       (1875).

       The Supreme Court also noted:

       "It is an elementary principle of criminal pleading, that where the definition of an
       offence, whether it be at common law or by statute, `includes generic terms, it is not
       sufficient that the indictment shall charge the offence in the same generic terms as in the
       definition; but it must state the species, — it must descend to particulars.'" Id. (emphasis
       added).

The Supreme Court made it clear that allegations that are generic and not specific to a specific

defendant are not sufficient.




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       An indictment not framed to apprise the defendant "with reasonable certainty, of the

nature of the accusation against him . . . is defective, although it may follow the language of the

statute." United States v. Simmons, 96 U.S. 360, 362 (1877). The charging document may use

“the words of the statute itself, as long as those words of themselves fully, directly, and

expressly, without any uncertainty or ambiguity, set forth all the elements ...” Hamling, 418 U.S.

at 117. The Fifth and Sixth Amendments and Rule 7(c)(1) generally require that the elements be

combined with allegations of fact that establish the offense when assumed true. Hamling, 418

U.S. at 117-118; Fed. R. Crim. Proc. 7(c)(1) (“The indictment or information must be a plain,

concise, and definite written statement of the essential facts constituting the offense charged...”)

(emphasis added). The D.C. Circuit has also ruled on the necessity of factual allegations. See

United States v. Nance, 533 F.2d 699, 701-703 (D.C. Cir. 1976) (reversing where the indictment

failed to make necessary factual allegations).


       In Hunter v. District of Columbia , 47 App. D.C. 406 (D.C. Cir. 1918), for example, the

Circuit Court examined an indictment that alleged that the defendants had "congregate[d] and

assemble[d] on Pennsylvania avenue, N.W., [and] did then and there crowd, obstruct, and

incommode the free use of the sidewalk thereof on said avenue" in violation of the unlawful-

assembly statute. Id. at 408. Beyond the general terms of acts prohibited by the statute, there was

no averment of fact "to inform defendants of the nature of the acts which [were] relied upon by

the prosecution as constituting alleged obstruction of the sidewalk, or that would enable

defendants to make an intelligent defense, much less to advise the court of the sufficiency of the

charge in law to support a conviction." Id. at 410. And the fact that the charging document

"fail[ed] to set out the acts committed by the defendants which constituted the crowding and




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obstructing of the free use of the walk by them[,]" Id. at 409, was a fatal flaw. As stated by the

Hunter Court:


          [i]t is elementary that an information or indictment must set out the facts constituting the
          offense, with sufficient clearness to apprise the defendant of the charge he is expected to
          meet, and to inform the court of their sufficiency to sustain the conviction. ... In other
          words, when the accused is led to the bar of justice, the information or indictment must
          contain the elements of the offense with which he is charged, with sufficient clearness to
          fully advise him of the exact crime which he is alleged to have committed. Id. at 409, 410
          (emphasis added) (internal quotation marks and citation omitted).


          The Hunter Court also observed that the defendants in that case could have engaged in a

number of acts that fell outside the scope of the statute, and thus, by failing to specify the

defendants' particular conduct, the indictment was "too vague, general, and uncertain to meet the

requirements of the established rules of criminal pleading," which in turn rendered it

"insufficient in law." Id. at 410.

          Lastly, in United States v. Miller, Criminal Action 1:21-cr-00119 (CJN) (D.D.C. May.

27, 2022) 1, Judge Nichols further describes these standards in his opinion on a motion for

reconsideration of the Court’s prior decision on the scope of 18 U.S.C. § 1512(c)(2). See Opinion

at 3-12. In Miller, the indictment states

          …..that Miller “attempted to, and did, corruptly obstruct, influence, and impede an
          official proceeding.” Indictment at 2. The charge provides no further detail as to what
          conduct by Miller the government …. Considers the actus reus. But that act is an
          essential element of the crime. [footnote omitted]. Opinion at 10.

      C. Courts Apply Doctrines that Limit Ambiguous Terms or Broad Readings When
         Construing the Reach of Criminal Statutes

          Federal courts “traditionally exercise restraint in assessing the reach of a federal criminal

statute.” United States v. Aguilar, 515 U.S. 593, 600 (1995). The Supreme Court has urged this


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    https://casetext.com/case/united-states-v-miller-1282

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restraint “both out of deference to the prerogatives of Congress and out of concern that ‘a fair

warning should be given to the world in language that the common world will understand, of

what the law intends to do if a certain line is passed’” Id. at 600 (citations omitted); cf Sessions v

Dimaya, 139 S. Ct. 1204, 1223-28 (2018) (Gorsuch, J., concurring in part and concurring in

judgement). This “prudent rule of construction” continues with force today. Dowling v. United

States, 473 U.S. 207, 214 (1985); see Marinello v. United States, 138 S. Ct. 1101, 1108 (2018)

(endorsing the rule).

       In addition, under the rule of lenity, courts construe penal laws strictly and resolve

ambiguities in favor of the defendant so long as doing so would not “conflict with the implied or

expressed intent of Congress” Liparota v. United States, 471 U.S. 419, 427 (1985). "[A] statute

which either forbids or requires the doing of an act in terms so vague that men of common

intelligence must necessarily guess at its meaning and differ as to its application, violates the first

essential of due process of law." Connally v. General Construction Company, 269 U.S. 385, 391,

46 S.Ct 126, 127, 70, L.Ed. 322 (1926). “[A] penal statute must define the criminal offense with

sufficient definiteness that ordinary people can understand what conduct it prohibits, and do so in

a manner that does not invite arbitrary and discriminatory enforcement by which ‘policemen,

prosecutors, and juries…pursue their personal predilections.’” United States v. Poindexter, 951

F.2d 369, 378 (D.C. Cir. 1991) (Citing Kolender v. Lawson, 461 U.S. 352, 357-58, 103 S. Ct

1855, 1858, 75 L.Ed. 2d 903 (1983).


 II.   The I&A Fail to Provide Necessary Allegations of Fact to Properly State an Offense
       Under 18 USC §1752(a)(1)

       A. The I&A Fail to Allege the Elements Required to Identify that Mr. Vo Entered a
          “Restricted Area” Under 18 USC §1752(a)(1) By Not Identifying the Necessary
          Posting, Cordon or Other Restriction Present at the Time of Mr. Vo’s Alleged
          Offense

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        Under 18 USC §1752(a)(1), the Government must show an individual knowingly enters

or remains in any restricted buildings or grounds without lawful authority to do so. The term

“restricted building or grounds” means any “posted, cordoned off, or otherwise restricted area”

“…(B) of a building or grounds where the President or other person protected by the Secret

Service is or will be temporarily visiting”.

        First, the statute does not enumerate the Capitol Building or Capitol Grounds as restricted

areas. Second, the area of a building is not necessarily a whole building and an area of the

grounds is not necessarily the whole grounds. One part of a building may be restricted, and other

parts may not. Third, the area can only be restricted by having something posted, cordoned off

or otherwise restricted. Fourth, the reference is to an area not a given point of entry. If an area is

not restricted at any point of entry, it is not a restricted area. Fifth, what is a restricted area under

18 USC §1752 is a constantly changing situation that may appear and disappear. The provision

applies to many people and many locations and many time periods. 18 USC §3056(a)(1)

identifies the President, the Vice President, the President-elect, the Vice-President elect as

protected, among others.

        Furthermore, the specific sign postings, the cordons, or other specific method of

restriction at a specific time and location are necessary allegations of facts, critical to claiming

the restricted area. Without such allegation, there is no offense. The I&A do not identify or

allege a sign, cordoned off area, or other restriction that Mr. Vo could reasonably observe at any

time. Furthermore, ¶4 of the Affidavit is too non-specific to apply to provide sufficient

information for Mr. Vo’s defense as it does not identify the location of the relevant permanent or

temporary security barriers and posts manned by the U.S. Capitol police at the time of the

alleged offense.



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       The statutory language must be read in light of the Constitutional requirement that any

party be provided fair notice and any interpretation of such language must be read in that light.

Further, the statutory standard under §1752(a)(1) is that a party “knowingly enters or remains in

any restricted building or grounds without lawful authority to do so.” (emphasis added).

With respect to ¶7, not only is there a failure to allege that Mr. Vo was following national news

coverage of any type, such coverage is not an “other restriction” within the meaning of 18 U.S.C.

§1752(c)(1). Nor would any allegation of disorderly conduct on the part of other parties, or the

knowledge of any disorderly conduct, be an allegation of an “other restriction.” Awareness, if

any, of disorderly conduct of others is not knowledge of a restricted area within the meaning of

18 U.S.C. §1752(a)(1) and (c)(1). In addition, neither the Capitol Buildings nor Grounds are per

se restricted areas as the Vice President’s visit is a temporal matter. Section1752(c)(1) restricted

areas may apply any time there was an appearance by then President Trump or Vice President

Biden and other parties. There is no reason anyone should know what is and what is not a

restricted area, unless the signs and police indicate that is the case. The use of the statutory term

“otherwise restricted” suffers from serious concerns over constitutional vagueness and lack of

fair notice if it is to be used expansively. Regardless, the Affidavit in ¶ 4 only makes reference

to barriers and posts manned by the U.S. Capitol police. Nothing in the Affidavit alleges some

mechanisms to make an area “otherwise restricted.”

       Therefore, it does not matter that some people may have crossed an area that was

cordoned off at a different time. Mr. Vo cannot be held criminally liable for the actions of others

at other times. Mr. Vo has no role in determining what is and what is not appropriate security for

any proceedings on January 6, 2021. Even if there were barriers or cordoned off areas that may

have existed before Mr. Vo entered the Capitol, the government has not made a specific



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allegation that such barriers were there for Mr. Vo to observe. The government has provided no

allegations of signs or cordons that Mr. Vo knowingly walked through a cordoned off area.

       Mr. Vo has every right to rely on the instructions (or failure to provide instructions not to

enter) of police officers at the Capitol as well as the specific alignment of the police cordon.

There is no allegation that Mr. Vo did not follow police instruction or cross the police cordon.

The instant case contrasts specifically with U.S. v. Bursey, 416 F.3d 301 (4th Cir. 2005), which

construes the definition of restricted area in 18 USC §1752(a). In Bursey, the Court found that

law enforcement agents themselves defined the cordoned off area by their position:


       Stationing agents at along an areas perimeter squarely falls within the plain meaning of
       the term “cordoned off,” that is, “a line or series of troops or of military posts placed at
       intervals and enclosing an area to prevent passage’ or “a barrier of any kind operating to
       close off, restrict, or control access.” Websters Third New International Dictionary
       (1976). Id. at 307.
       Notably, in Bursey, State law enforcement agents approached Bursey and informed him

that he could not remain in the restricted area, that certain areas were restricted. Id at 305. An

Agent advised Bursey that he had the choice (1) to go home; (2) get in line if he had a ticket; (3)

go to the designated demonstration area; or (4) suffer the consequences and be arrested. Unlike

Bursey, the government has not alleged that there was a line of officers who “cordoned” the area

at the time that Vo was present and that he saw such a barrier and ignored it. The government

has also not alleged that Vo failed to follow the direct commands of an officer.


       B. The I&A Fail to Allege that Mr. Vo Had Knowledge He Was Entering or
          Remaining in A Restricted Area

       Nothing in the I&A alleges facts that Mr. Vo had knowledge of a posted sign, cordon or

other restriction to establish the mens rea requirement for the offense.




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       C. The 18 U.S.C. §1752 Counts Also Fail to State an Offense because the United
          States Secret Service is the Entity that May Designate “Restricted Areas” Under the
          Statute, Not the United States Capitol Police

       Mr. Vo is charged with two counts of violating 18 U.S.C. §1752 for “entering and

remaining in a Restricted Building or Grounds,” and engaging in “disorderly and disruptive

conduct in a Restricted Building or Grounds.” When this statute was enacted, it is clear that the

purpose was to designate the United States Secret Service (“USSS”) to restrict areas for

temporary visits by the President. See S. Rep. No. 91-1252 (1970). At the time of enactment,

the USSS was part of the Treasury. Section 1752 grants the Treasury Secretary the authority to

“designate by regulations the buildings and grounds which constitute the temporary residences of

the President.” 18 U.S.C. §1752(d)(1). It also allows the Secretary to “to prescribe regulations

governing ingress or egress to such buildings and grounds to be posted, cordoned off, or

otherwise restricted areas where the President may be visiting.” §1752(d)(2). There is nothing in

the legislative history (or the statutory language) to suggest that anyone other than the USSS has

the authority to so restrict the areas surrounding the Capitol building.

       The USSS’s duties and responsibilities are outlined in 18 U.S.C. §3056, which include:

               (e)(1): When directed by the President, the United States Secret
               Service is authorized to participate, under the direction of the
               Secretary of Homeland Security, in the planning, coordination, and
               implementation of security operations at special events of national
               significance, as determined by the President.

               (2) At the end of each fiscal year, the President through such
               agency or office as the President may designate, shall report to the
               Congress--

           (A) what events, if any, were designated special events of national
               significance for security purposes under paragraph (1); and

           (B) the criteria and information used in making each designation.


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§3056(e)(1)(2)(A)(B). The statute does not state that any other agency is permitted to designate

events for security purposes and only explains that the USSS would be under the designation of

the Department of Homeland Security instead of the Treasury Department. The statute makes

the exclusive role of the USSS even clearer in §3056(g), which states:

                (g) The United States Secret Service shall be maintained as a
                distinct entity within the Department of Homeland Security and
                shall not be merged with any other Department function. No
                personnel and operational elements of the United States Secret
                Service shall report to an individual other than the Director of the
                United States Secret Service, who shall report directly to the
                Secretary of Homeland Security without being required to report
                through any other official of the Department.

(emphases added).

        The Information charges Mr. Vo with remaining or entering “restricted building or

grounds,” however it does not allege that the USSS designated that area as being restricted. Nor

could it do so now because in United States v. Griffin, 549 F. Supp. 3d 49 (D.D.C. 2021), the

government conceded that it was the United States Capitol Police that attempted to designate the

area as restricted that day and not the USSS. Id at 53. The court in Griffin denied a motion to

dismiss a §1752 charge on the ground that the statute (Congress) did not specifically state who

must designate the “restricted areas.” 2

        However, the plain language of 18 U.S.C. §1752(c)(B), defines “restricted building or

grounds” as a “building or grounds where the President or other person protected by the Secret

Service is or will be temporarily visiting.” Since it is the Secret Service who protects the

President or “other person,” it is the Secret Service who must designate the area “restricted.” The


2
 Mr. Vo acknowledges that there are now several other district court judges who have rejected similar
arguments. However, those decisions can be distinguished for the same reasons distinguishing the Griffin
decision.


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legislative history bolsters this interpretation. 3

        The court in Griffin also hypothesized that the President would be unable to rely on the

military fortification at Camp David already in existence when he visits that facility if the Secret

Service was not the only entity with the statutory authority to restrict the area. See Griffin at 57.

However, Camp David is a military installation and is not a “public forum” that needs an entity

to “cordon off” areas and restrict them in light of a Presidential visit. Military bases have

security and are not otherwise open to the public. And each military installation is subject to

other laws that protect the facility, and those within it, from intruders. See, e.g., 18 U.S.C §1382

(barring any person from entering any military installation for any purpose prohibited by law).

Military bases are heavily guarded and have entrance and exit points and are different than

federal buildings that need sections to be “cordoned” off in order for the general public to know

which area is restricted. For these reasons, the example offered by the Griffin court is inapposite

and does not support the court’s decision.

        Furthermore, if a deficiency in a statute creates an absurd result or creates arbitrary

enforcement, it should not be enforced until it is amended to provide clarity and provide fair

notice to a defendant. Kolender v. Lawson, 461 U.S. 352, 357 (1983). The Griffin court’s

reasoning creates a different kind of absurd result –viz, anyone claiming to be a part of law

enforcement could post a sign designating an area as restricted and a criminal defendant could

then be penalized for trespassing because they “willfully” ignored the sign.



3
  Congress enacted 18 U.S.C. §1752 as part of the Omnibus Crime Control Act of 1970. Public Law 91-
644, Title V, Sec. 18, 84 Stat. 1891-92 (Jan 2. 1971). At that time, the USSS was a part of the Treasury
Department. The Senate Judiciary Committee report accompanying the current version of §1752 noted
that there was no federal statute that specifically authorized the Secret Service to restrict areas where the
President maintains temporary residences and the senators explained that the key purpose of the bill was
to provide that authority to the Secret Service. S. Rep. No. 91-1252 (1970).

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        D. The I&A Fails to State an Offense Under 18 U.S.C. §1752 because Mike Pence was
           not “Temporarily Visiting” the Capitol Building on January 6, 2021

        Under the plain language of 18 U.S.C. §1752, the statute does not apply here. Section

1752 prohibits conduct in or near “any restricted building or grounds.” The statute expressly

defines the term “restricted buildings or grounds” as follows:

        (1) the term “restricted buildings or grounds” means any posted, cordoned off, or
        otherwise restricted area—
        (A) of the White House or its grounds, or the Vice President's official residence or
        its grounds;

        (B) of a building or grounds where the President or other person protected by the
        Secret Service is or will be temporarily visiting; or

        (C) of a building or grounds so restricted in conjunction with an event designated
        as a special event of national significance.


18 U.S.C. § 1752(c); see United States v. Samira Jabr, Criminal No. 18-0105, Opinion at 12,

ECF No. 31 (May 16, 2019), aff’d, 4 F.4th 97 (D.C. Cir. 2021).

        Counts one and two charge Mr. Vo with conduct “in a restricted building and grounds,

that is, any posted, cordoned-off and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President and Vice-President Elect were temporarily visiting . .

.” See ECF No. 8, (emphasis added). The government’s attempt to shoehorn Mr. Vo’s conduct

into the statute fails. Accordingly, those two counts should be dismissed. 4

        The “United States Capitol and its grounds” do not automatically constitute “restricted

buildings or grounds” under any prong of § 1752(c)(1). Nor did the Capitol grounds become



4
 After the Information was filed in the instant case, the government learned that Vice President Elect,
Kamala Harris, was actually not present at the time. In other cases, the government has amended their
pleadings to reflect this new development. See United States v. Sean McHugh, 21-453 (JDB); United
States v. Uliyahu Hayah, 21-565(CJN); United States v. Tommy Allan, 21-64 (CKK).

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“restricted grounds” on January 6, 2021, because of a “temporary vice-presidential visit,” as the

government asserts in the Information. The plain meaning of “temporary” is “lasting for a time

only.” Black’s Law Dictionary (11th Ed. 2019). “Visiting” is defined as “invited to join or

attend an institution for a limited time.” Merriam-Webster (2021). Together, the phrase

“temporarily visiting” connotes temporary travel to a location where the person does not

normally live or work on a regular basis. The former Vice President was not “temporarily

visiting” the Capitol on January 6, 2021. The Capitol is a federal government building in the

District of Columbia, where he lived and worked. Moreover, he actually worked at the Capitol

Building and grounds—it was his place of employment. In his official capacity as the “President

of the Senate,” he had a permanent office “within the United States Capitol and its grounds.”

The Vice President was not “visiting” the Capitol Building, he was working there, carrying out

his sworn official duties to by “presiding,” over the vote count ceremony. See 3 U.S.C. § 15

(“Congress shall be in session on the sixth day of January succeeding every meeting of the

electors. The Senate and House of Representatives shall meet in the Hall of the House of

Representatives at the hour of 1 o'clock in the afternoon on that day, and the President of the

Senate shall be their presiding officer.”) (emphasis added).

       Past cases support this plain, common-sense reading of the statute, as they involve

conduct in and near areas where the President and Vice President were clearly “temporarily

visiting.” See, e.g., United States v. Bursey, 416 F.3d 301 (4th Cir. 2005) (defendant entered and

remained in a restricted area at an airport in South Carolina where the President was visiting for

a political rally); Blair v. City of Evansville, Ind. 361 F. Supp.2d 846 (S.D. Indiana 2005)

(defendant charged with 18 U.S.C. §1752 at protest during then Vice President Richard Cheney’s

visit to the Centre in Evansville, Indiana). These cases all involve the President and Vice



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President actually traveling outside of D.C., where they live and work, and “visiting” another

location for a “temporary” purpose. As a result, those cases are entirely consistent with the plain

meaning of section 1752(c)(1)(B).


        Here, by contrast, former Vice President Pence was not traveling to a speaking event or a

political rally. He was meeting with other government officials in a federal government building

where he had a permanent office as part of fulfilling his official duties as Vice

President/President of the Senate. Thus, he was not “temporarily visiting” the Capitol building

as required by the plain language of 18 U.S.C. §1752.


III.    The I&A Fail to Provide Necessary Allegations of Fact to Properly State an Offense
        Under 18 USC §1752(a)(2)

            A. The I&A Fails to Properly Identify the Restricted Area Connected to a Time
               Mr. Vo Entered or Remained, which is a Necessary Element of 18 USC
               §1752(a)(2)

        Identifying a restricted area by identifying a relevant sign, cordoned off area or other

restriction is a necessary element of a criminal violation of 18 USC §1752(a)(2). As discussed

above with respect to the discussion on 18 USC §1752(a)(1), the I&A fails to properly identify

such area at the time and location of the allegedly violative conduct.

            B. The I&A Do Not Allege Any Facts to Identify Any “Disorderly or Disruptive
               Conduct” Under 18 U.S.C.§1752(a)(2)

        Under §1752(a)(2), a party is in violation if they knowingly, and with intent to impede or

disrupt the orderly conduct of Government business or official functions, engages in disorderly

or disruptive conduct in, or within such proximity to, any restricted buildings or grounds when,

or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business

or official functions.



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          The Affidavit does not properly allege any facts to support that Mr. Vo engaged in any

disorderly or disruptive conduct within the meaning of §1752(a)(2). Among other things, the

affidavit does not label any action as disorderly or disruptive conduct. Texting is not disorderly

or disruptive conduct or conduct that is relevant to §1752(a)(2). There is no allegation that Mr.

Vo disobeyed any order of a policeman, broke anything, assaulted anyone, touched anything,

spoke above a volume normal to private conversation. There is no allegation from a police

officer on the scene identifying the specific disorderly conduct on the part of Mr. Vo. The

Affidavit cagily states that the “facts” in this affidavit come from “my personal observations, my

training and experience, and information obtained from other law enforcement officers and

witnesses.” Affidavit ¶ 3. To Defendant’s knowledge, the affiant does not claim he was present

at the Capitol on January 6, 2021 and so it is unclear how it is possible that officers or witnesses

provided facts or allegations of disorderly or disruptive conduct. Nor is there any allegation of

fact that Mr. Vo attempted or conspired to engage in such disorderly or disruptive conduct. The

I&A do not identify any alleged facts to support disruptive or disorderly conduct within the

meaning of §1752(a)(2) in a manner to put Mr. Vo on notice as to how to defend against the

charge.

          The government cannot turn an alleged violation of §1752(a)(1) into the disorderly and

disruptive conduct elements required under §1752(a)(2). Without additional allegations of fact,

the government is attempting to transform peacefully standing into statutory disruptive and

disorderly conduct. There is no ordinary understanding of the terms “disorderly” or “disruptive”

that can support such a reading.

             C. The I&A Do Not Allege Any Facts to Identify That There Was the Conduct of
                Government Business or Official Functions Under 18 U.S.C.§1752(a)(2)
                Occurring at the Time Mr. Vo Was in the Capitol



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       The I&A do not, and cannot allege, that Mr. Vo is any way described in ¶7 of the

Affidavit. The Affidavit has not alleged that Mr. Vo was on the Capitol plaza around 2 pm as

described in ¶7. ¶8 of the Affidavit alleges that the joint session of Congress was effectively

suspended around 2:20 pm until shortly after 8:00 pm. It is not possible for the alleged actions

after 2:20 pm of Mr. Vo to disrupt the “conduct of government business or official functions” at

the time. Indeed, ¶ 8 effectively states such sessions “resumed” around 8 pm. Mr. Vo could not,

in any manner, disrupt government business or official functions that were not occurring.

           D. The I&A Do Not Allege Any Facts to Show That “Disorderly or Disruptive
              Conduct” of Mr. Vo, “In Fact”, Impeded or Disrupted the Orderly Conduct of
              Government Business or Official Functions Under 18 U.S.C.§1752(a)(2)


       The I&A do not properly allege any facts to support that any alleged disorderly or

disruptive conduct of Mr. Vo, in fact, impeded or disrupted the orderly conduct of Government

business or official functions as required under §1752(a)(2). The allegations explain that other

people initially disrupted the certification proceedings. There is no allegation that any disorderly

or disruptive conduct of Mr. Vo delayed the proceeding and that any proceeding would have in

fact proceeded earlier. The fact that Mr. Vo was simply present in the Capitol building cannot be

a basis for “disorderly or disruptive” or that he “in fact” disrupted a proceeding. The only

allegations that exist are that that the conduct of others “in fact” disrupted a proceeding.


IV.    The I&A Fail to Provide Necessary Allegations of Fact to Properly State an Offense
       Under 40 USC §5104(e)(2)(D)

           A. The I&A Do Not Allege Any Facts to Identify “Disorderly or Disruptive
              Conduct”

       Under 40 USC §5104(e)(2)(D) “an individual or group of individuals may not willfully

and knowingly…(D) utter loud, threatening, or abusive language or engage in disorderly or


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disruptive conduct with the intent to impede, disrupt, or disturb the orderly conduct of a session

of Congress or either House of Congress, or the orderly conduct in that building of a hearing

before, any deliberations of, a committee of Congress or either House of Congress….”

       The Affidavit does not have factual allegations that either Defendant uttered loud,

threatening, or abusive language. The affidavit does not provide, or at least does not identify,

any legally cognizable “disorderly or disruptive conduct.” Simply entering and remaining

peacefully cannot be the meaning of “disorderly or disruptive conduct.” 40 USC

§5104(e)(2)(A)-(C) use the terms “enter or remain” in specific context. “Enter or remain”

cannot be transformed to “disorderly or disruptive conduct.” Therefore, disorderly or disruptive

conduct must mean an additional act that meets the common-sense use of the terms.


           B. The I&A Do Not Allege Any Facts to Identify That There Was the Necessary
              Conduct of Business of Congress within the Meaning of §5104(e)(2)(D) at the
              Time Mr. Vo Was in the Capitol Building

       As stated above, the I&A do not, and cannot allege, that Mr. Vo is in any way described

in ¶7 of the Affidavit. The Affidavit has not alleged that Mr. Vo was on the Capitol grounds

around 2 p.m. as described in ¶7 nor are there allegations of fact analogous to the accusations

against other parties in that paragraph. ¶ 8 of the Affidavit also alleges that the joint session of

Congress was effectively suspended around 2:20 pm until shortly after 8:00 pm. Mr. Vo could

not, in any manner, disrupt government business or official functions that were not occurring,

and which may have been previously disrupted by other parties or issues.


           C. The I&A Have Not Alleged Facts to Support that Mr. Vo Willfully and
              Knowingly Understood that Peacefully Entering the Capitol, Without
              Disobeying Any Instruction of the Many Police Officers Present, Was Conduct
              that Would Disrupt a Proceeding



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        Even if the Court found that peacefully standing for a few moments in the Capitol in front

of many police was disorderly and disruptive AND found that the suspended sessions of

Congress were still within the ambit of the statutory language, there is no allegation that Mr. Vo

willfully and knowingly met the standards or met the additional “intent” standard in the language

of §5104(e)(2)(D).


 V.     The I&A Fail to Provide Necessary Allegations of Fact to Properly State an Offense
        Under 40 USC §5104(e)(2)(G)

            A. The Allegations of Fact in the I&A Do Not Identify Relevant Conduct That
               Meet the Terms “Parade, Demonstrate, Or Picket” in Any of the Capitol
               Buildings

        40 USC §5104(e)(2)(G) makes it an offense to “…willfully and knowingly…(G) parade,

demonstrate, or picket in any of the Capitol Buildings. The Affidavit has not described any overt

action that can constitute the alleged offense of 40 USC §5104(e)(2)(G). Texting privately to a

friend, regardless of its content, is not to parade, demonstrate, or picket. Taking pictures is not a

parade, demonstration, or picket. The Affidavit does not allege any organizational relationship

with anyone in the Capitol at the time. There are no allegations that Mr. Vo displayed signs,

made any demonstration gestures, walked in some special manner, blocked any hallway or path,

or refused to move. There is no allegation of expressive conduct in the Capitol—which would

be necessary to distinguish the terms “parade, demonstration, or picket.” Various cases are

discussed below, some of which found violations of the identical language based on the specific

fact patterns of those cases, and some which did not. The allegations in the instant case, does not

rise to the level of the fact patterns of any of the cases discussed.


            B. Congress Articulated Where Entering or Remaining in Certain Areas of the
               Capitol Buildings Could Constitute A Violation; Merely Entering and
               Remaining Cannot Be Transformed into “Parade, Demonstration or Picket”

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       40 USC §5104(e)(2)(A)-(C) use the terms “enter or remain” in specific context. Part of

the context involves specific locations within the Capitol Building. If Congress had meant

entering or remaining in other locations was a violation under the 40 USC §5104(e)(2) series, it

would have said so. “Enter or remain” cannot be transformed to “parade, demonstrate, or picket”

which must mean discretely different conduct. Simply entering and remaining, peacefully, for a

short time cannot be the meaning of “parade, demonstrate, or picket.”


           C. The I&A Lacks Specificity by Failing to Identify Statutory Terms Allegedly
              Violated and Identifying the Actions That Constitute that Violation with
              Respect to 40 USC §5104(e)(2)(G)

       The I&A provide no explanation of which term the government argues that Mr. Vo

engaged in with respect to whether he “paraded” in the Capitol. What act constitutes such a

parade? Did Mr. Vo “demonstrate” in the Capitol? What act or acts in the Capitol constitute this

action? Did Mr. Vo “picket” in the Capitol? What act or acts constitutes this action? There is no

allegation of what conduct of Mr. Vo that the government claims constitute illegal conduct.


           D. The Underlying Conduct That Constitutes the Terms Parade, Demonstrate and
              Picket Must Be the Same on Any Given Day

       It is important to note that no element of USC §5104(e)(2)(G) describes illegal entry as a

component of illegal conduct under that provision. A court must look only to the terms “parade,

demonstrate, or picket.” The conduct that comprises a violation under 40 USC §5104(e)(2)(G)

cannot be the same as that would indict ordinary visitors in any given day in the Capitol. 40

USC §5104(e)(2)(G) is a rule that applies to visitors during normal sessions of Congress. Many

normal visitors may have participated in political demonstrations elsewhere on the day of their

visit to the Capitol. Many visitors may view their trip to the Capitol as an extension of their

political efforts. Professional groups come to the Capitol Buildings in droves on given days to

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lobby and get their message across. People walk into the Capitol, lobby for causes, wear

political t-shirts, and express their political views all the time. Such people must abide by the

rules of procedures in hearing rooms and remain quiet, but corridors have the ordinary rules of

being in a corridor. It does not matter that anyone participated in rallies elsewhere during the

day. Such participation outside the Capitol does not and cannot legally make their time inside the

Capitol a violation of 40 USC §5104(e)(2)(G). There must be specific conduct inside the

Capitol that is more than walking or standing among people at the Capitol. Nor is there any

allegation of fact that an officer on the scene indicated that any conduct of Mr. Vo was

prohibited, much less was constituting a parade, demonstrate, or picket. Similarly, there is

simply no allegation that Mr. Vo provided any outwardly expressive conduct. There is no

allegation that any of the many police officers on the seen informed Mr. Vo that his conduct was

prohibited in any way, including as a prohibited parade, demonstration or picket.


           E. Mr. Vo’s Alleged Conduct Does Not Meet the Standard in United States v
              Bradley of Intruding on the Senses

       In United States v. Bradley, 418 F. 2d 688 (4th Cir. 1969), two students were arrested for

handing out leaflets at Fort Bragg, pursuant to a regulation prohibiting demonstrations there. In

concluding that the activities in question did not constitute a demonstration the court said:

       Such acts as picketing, sit-ins, protest marches, speeches and acts ordinarily associated
       with demonstrations, like parading, singing, and display of placards, all . . . "inevitably
       intrude upon the senses of those within earshot or eyesight." The casual passerby cannot
       ignore the event — he must notice it and cannot escape exposure to its message.

       Relying in part, on Bradley, Kroll v. United States Capitol Police, 590 F. Supp. 1282

(D.D.C. 1983) (construed the term “demonstration” in the context of regulations for the Capitol

Grounds could not be construed to encompass plaintiff’s conduct in the Kroll case). Specifically,

the court stated: “[h]is action did not inevitably intrude upon the senses of those persons in the

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immediate area as he acted peaceably, quietly and without forcing others to accept or observe his

message.” Id. at 1291.

           F. The Allegations of Fact In the I&A Do Not Provide That Mr. Vo Willfully and
              Knowingly Engaged in Conduct in the Capitol That Was A Parade,
              Demonstration, or Picket

       The government has the additional obligation to identify allegations of fact that Mr. Vo

knowingly and willfully engaged in a parade, demonstration or picket while in the Capitol.

There is no allegation that Mr. Vo knew or that any officer informed him that is conduct was an

illegal parade, picket or demonstration.

           G. A US District Court for the District of Columbia Has Ruled That A Broad
              Construction of 40 USC §5104(e)(2)(G) Which Fails to Require “Disruptive”
              Conduct Would Not Survive the First Amendment

       The Court in Bynum v. United States Capitol Police Board, 93 F. Supp. 2d 50 (D.D.C.

2000) found regulations purporting to implement 40 USC §5104(e)(2)(G) to violate the First

Amendment and Due Process.

       Believing that the Capitol Police needed guidance in determining what behavior

constitutes a "demonstration," the United States Capitol Police Board issued a regulation that

interprets "demonstration activity" to include:

       parading, picketing, speechmaking, holding vigils, sit-ins, or other expressive conduct
       that convey[s] a message supporting or opposing a point of view or has the intent, effect
       or propensity to attract a crowd of onlookers, but does not include merely wearing Tee
       shirts, buttons or other similar articles of apparel that convey a message.

With respect to the First Amendment the Bynum Court states:

       The Court, however, cannot conclude that the regulation is reasonable in light of the
       purposes it could legitimately serve. While the regulation is justified by the need
       expressed in the statute to prevent disruptive conduct in the Capitol, it sweeps too broadly
       by inviting the Capitol Police to restrict behavior that is in no way disruptive, such as
       “speechmaking… or other expressive conduct…” Traffic Regulations for the Capitol
       Grounds §158. Because the regulations proscriptions are not limited to the legitimate
       purposes set forth in the statue, it is an unreasonable and therefore an unconstitutional

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        restriction on speech. …See Board of Airport Commissioners of the City of Los Angeles
        v. Jews for Jesus, Inc., 482 U.S. 569, 575, 107 S. Ct. 2568, 96 L. Ed. 2d 500 (1987)
        (general prohibition of First Amendment activity in airport cannot be justified even if
        airport is nonpublic forum "because no conceivable government interest would justify
        such an absolute prohibition of speech"). For these reasons, and those discussed in [Other
        Section of Opinion] the regulation is both unreasonable and unconstitutionally overbroad.
        (citation omitted). Bynum at 57.

        The Bynum Court construes the statute to only apply to demonstration that is “disruptive”

and the Affidavit fails to identify any conduct of Mr. Vo that qualifies as disruptive. A simple

review of the regulatory circumstances that Bynum reject as unconstitutional indicates it would

be improper to construe 40 USC §5104(e)(2)(G) to be as broad as to encompass the allegations

of fact in the Affidavit.

            H. The District of Columbia Courts Apply the “Tourist Standard” When
               Interpreting the Same Statutory Language Under the DC Code to Save the
               Provision from Being Overbroad Under the Constitution; The Government Has
               Not Alleged Conduct Beyond the Tourist Standard

        District of Columbia Courts have reviewed the language identical to 40 USC

§5104(e)(2)(G) under D.C. Code §10-5-3.16(b)(7). As stated in Grogan v. United States, No. 19-

CM-1030 (D.D.C. Mar. 17, 2022):

        To "save [§10-5-3.16(b)(7)] from being unconstitutionally overbroad," we have adopted
        the "tourist standard"-a narrowing construction under which we construe [§10-5-
        3.16(b)(7)] to prohibit only "demonstrations that involve conduct more disturbing than
        the actions of a tourist would normally be, while taking into consideration the right of the
        people to freedom of expression." (Citations omitted). Grogan at 25.

        The fact patterns and results for cases in DC Courts under the tourist standard vary. For

example, The DC Court of Appeals found that a demonstration in which fifty people sat on the

floor of the Capitol Rotunda, prayed, and chanted did not run afoul of the tourist standard

because the Rotunda is a "unique situs for demonstration activity". Wheelock v. U.S., 552 A. 2d

503, 504-08 (D.C. 1988). See also Markowitz v. U.S., 598 A. 2d 398, 401, 409 (D.C. 1991)

(demonstration in which ten to fifteen people sat on the floor in a restricted corridor and began to

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unfurl a banner was not protected by the tourist standard because it occurred in a location where

tourists were normally not even allowed to enter). In Berg v. U.S., 631 A.2d 394 (D.C. 1993), the

court found demonstrators were much more numerous than ordinary tour groups, which are

limited to not more than 50 in the Rotunda. Demonstrators were also louder than ordinary

tourists in that they were "shouting" and "speaking in unison" and "could be heard throughout

the entire Rotunda." Id. at 397. An officer, using an amplifier, advised the entire group "that they

were in violation of the building regulations [namely, U.S. Capitol Police General Order No.

303.1] and asked them to please stand . . . and please cease and desist." The officer further

testified that he waited for a short period of time and then repeated the identical warning twice

more. The combination of these facts exceeded the tourist standard. If the government argues

that the area was restricted and, thus, the tourist standard does not apply under Markowitz, the

government must allege facts that meet that argument.

       In Hasty v. United States, 669 A.2d 127, 129 (D.D.C. December 18, 1995), the court held

that the failure to instruct the jury on the “tourist standard” was insufficient and did not avoid

over breadth problems. In Hasty, the defendant went to the center of the Rotunda to meet the

others and to pray as a "sign of their faith." Id. at 129. The group formed a circle, recited prayers,

read, and knelt in silent prayer, and some of them began singing. Hasty admitted hearing the

officer ordering the group to cease and desist over the bullhorn, but he chose to ignore the order

because he was deeply in prayer. Hasty also testified that he refused to leave when the police

asked him to because he "had every right to be there." Id. at 130. The court reversed Hasty’s

conviction because it found that “in order to ensure that defendant is convicted of the offense as

construed to avoid unconstitutional over breadth, the trial court must adequately instruct the jury

so as to describe accurately the conduct proscribed and for which the defendant is on trial.” Id. at



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132. Similarly, the government’s allegations cannot survive if they do not accurately describe

the conduct proscribed.

VI.    Application of 40 USC §5104(e)(2)(G) to the Alleged Conduct of Mr. Vo Is
       Unconstitutional

       A. Under the First Amendment, the Legitimate Objectives of Security and Order in the
          Capitol Buildings Should Be Addressed Without Directly and Only Proscribing
          Certain First Amendment Activity as Under 40 USC §5104(e)(2)(G), Particularly to
          the Thin Argument Concerning Mr. Vo’s Alleged Conduct

       Without question 40 USC §5104(e)(2)(G) refers directly, and only, to First Amendment

activities. Indeed, the provision refers only and explicitly to 3 modes of First Amendment

expression –parade, demonstration, and picket.

       Several courts in DC have struck down regulations attempting to interpret the language of

40 USC §5104(e)(2)(G) broadly. As discussed above, DC courts recite the “Tourist Standard” as

a means of preventing application of the same language in the DC Code in a manner that would

violate the Constitution.

       B. The Capitol Grounds Are a Common Site of Constitutionally Protected Activities;
          Statutory Interpretation Must Not Chill Legitimate Assembly by Connecting Lawful
          Assembly Outside the Capitol Building as Basis for Defining Parade, Demonstrate
          or Picket Inside the Capitol

       The relationship and close nexus between constitutionally protected activity and the

allegations against Mr. Vo must be recognized. In Wheelock v. United States 552 A.2d 503

(D.C. 1988), the DC Court of Appeals reviewed a different unlawful entry statute. D.C. Code §

22-3102 (1981) provides that:


       Any person who, without lawful authority, shall enter, ... any public or private dwelling,
       building or other property, ... or being therein or thereon, without lawful authority to
       remain therein or thereon shall refuse to quit the same on the demand ... of the person
       lawfully in charge thereof, shall be deemed guilty of a misdemeanor....

The Wheelock Court notes:

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       It bears repeating that "[t]he general concepts of First Amendment freedom are given
       added impetus as to speech and peaceful demonstration in Washington, D.C., by the
       clause of the Constitution which assures citizens their right to assemble peaceably at the
       seat of government and present grievances." A Quaker Action Group v. Morton, 170
       U.S.App. D.C. 124, 131, 516 F.2d 717, 724 (1975). The courts in this jurisdiction have
       long recognized that "[t]he United States Capitol is a unique situs for demonstration
       activity" and "is a place traditionally open to the public thousands visit each year to
       which access cannot be denied broadly or absolutely, [a fact which must be weighed]
       against the government's interest in protecting against possible `damage to buildings and
       grounds, obstruction of passageways, and even dangers to legislators and staff.'" Kroll v.
       United States, 590 F. Supp. 1282, 1289, 1290 (D.D.C.1983) (quoting Jeannette Rankin
       Brigade v. Chief of Capitol Police, 342 F. Supp. 575, 583-85 (D.D.C. 1972), aff'd mem.,
       409 U.S. 972, 93 S. Ct. 311, 34 L. Ed. 2d 236 (1972)). Wheelock at 506.

       What the government may be arguing is that presence in the Capitol in connection with a

rally Mr. Vo attended much earlier, by itself, constitutes the offense, even though there is no

actual allegation of conduct other than presence, walking and talking pictures. Under such a

hypothetical approach, standing in the Capitol is itself a “demonstration.” Of course, standing in

the Capitol is a symbol of freedom and pride or other things for many Americans. The danger of

this approach cannot be understated. It is not for this court, the prosecutors or even Mr. Vo to

ascribe criminal meaning to standing peacefully in the Capitol.


       C. The Lack of Allegation of Verbal Police Communication to Mr. Vo Distinguishes
          the Instant Case from the Other Cases Cited

       Notably, the reference in Wheelock that the government’s argument “…assumes what

proved to be untrue, namely, that all of the demonstrators would refuse to obey requests to

conform their behavior to the regulations” Id a 509. Indeed, in all of the cases cited, the fact

patterns always involved an opportunity to conform conduct by instruction of the police. With

respect to entry, there is no allegation that the police communicated that Mr. Vo should not enter.

With respect to allegations of disorderly or disruptive conduct, there is no allegation that the

police on the scene relayed any concern to Mr. Vo. With respect to parading, demonstrating, or



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picketing, there is no allegation that the police relayed concerns that Mr. Vo’s conduct might

constitute illegal activity in that respect.


        D. A Broad Interpretation Applying 40 USC §5104(e)(2)(G) to Mr. Vo’s Conduct in
           the Capitol Is Overbroad under the First Amendment and Violates the Fifth
           Amendment Requirements of Due Process Since, in Context, the Provision is
           Vague, Without Standards, and Lacks Fair Notice

        A law is unconstitutionally vague when “it fails to give ordinary people fair notice of the

conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.” Johnson v.

United States, 576 U.S. 591, 595 (2015). As stated in Hobbs v. Thompson, 448 F.2d 456, 460

(5th Cir. 1971):


        Lack of fair warning to actors or lack of adequate standards to guide enforcers also may
        lead to a "chill" on privileged activity. A person contemplating action who might be
        covered by a vague statute is left in doubt as to whether he is covered by the statute and,
        if so, whether his claim of privilege will be upheld. See, e.g., NAACP v. Button, 371 U.S.
        415, 432, 83 S.Ct 328, 9 L.Ed. 2d 405 (1963); See also Coates v. Cincinnati, 402 U.S.
        611, 91 S. Ct. 1686, 29 L.Ed. 2d 214 (1971). Hobbs at 460-461.

        The Supreme Court has also said that "[b]ecause First Amendment freedoms need

breathing space to survive, government may regulate in the area only with narrow specificity."

NAACP v. Button, 371 U.S. 415, 433 (1963). See also Hoffman Estates v. Flipside, Hoffman

Estates, Inc., 455 U.S. 489, 495 (1982) (“We have said that when a statute interferes with the

right of free speech or of association, a more stringent vagueness test should apply”).

        40 USC §5104(e)(2)(G) clearly specifies three First Amendment modes of expression.

The purported breadth of interpretation of the provision in the instant case is without precedent

outside of the cases related to January 6, 2021. To defendant’s knowledge any prior example of

enforcement had specific police warnings and an opportunity to change conduct before arrest. In




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the instant case, there are no specific allegations in the Affidavit from witnesses at the scene

alleging that Vo’s conduct constituted a parade, demonstration, or picket.

       The case fails under Bynum, Brady, and Wheelock for differing readings and different

tests. The broad interpretation that standing, walking, texting or taking pictures as alleged

against Mr. Vo fails all of these tests. The broad interpretation opens an unending can of worms.

People may visit for any combination of tourism, education, expression, lobbying, pride,

reporting, association, representation, or just to get out of the cold or go to the restroom. A group

or set of individuals may represent and should be allowed to communicate a point of view, as

long as such conduct is consistent with the operation of Congress. Members of Congress and

employees in their official duties are exempt from 40 USC §5104(e)(2)(G) creating a class

exempt from criminal threats from the particular First Amendment activities. If a group wears

the same T-shirt with a message and walks through the Capitol as a group, is that a parade? Is it

a demonstration? If someone or group has a podcast going from their phones using the inside of

the Capitol Buildings as backdrops and criticize Congressional action, is that a demonstration?

Or is it reporting? Professional groups, like the doctors, descend on Capitol buildings annually

to lobby their causes. We have seen over and over demonstrations in front or behind the Capitol

where members of Congress come out and speak. Is it a demonstration if many members of that

crowd then go into the Capitol Building? If a broad reading of the statute is chosen in this case, it

will create vagueness and concerns of arbitrary enforcement.


VII.   The Information Should Be Dismissed for Multiplicity

       A. Protections Against Multiplicity Protect Against Double Jeopardy and the Improper
          Threat of Multiple Penalties for the Same Offense




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       Multiplicity is "the charging of a single offense in several counts." United States v. Allen,

13 F. 3d 105, 107 (4th Cir. 1993) (quoting 1 Charles A. Wright, Federal Practice and Procedure §

142, at 469 (2d ed. 1982); LaFave & Israel, Criminal Procedure § 19.2(e), at 457; United States

v. Segall, 833 F. 2d 144, 146 (9th Cir.1987)); United States v. Israelski, 597 F. 2d 22, 24 (2d Cir.

1979). As stated by the Supreme Court in Brown v. Ohio, 432 U.S. 161, 97 S. Ct. 2221 (1977):


   The Double Jeopardy Clause of the Fifth Amendment…. provides that no person shall "be
   subject for the same offense to be twice put in jeopardy of life or limb." It has long been
   understood that separate statutory crimes need not be identical — either in constituent
   elements or in actual proof — in order to be the same within the meaning of the
   constitutional prohibition. 1 J. Bishop, New Criminal Law § 1051 (8th ed. 1892); Comment,
   Twice in Jeopardy, 75 Yale L. J. 262, 268-269 (1965). The principal question in this case is
   whether auto theft and joyriding, a greater and lesser included offense under Ohio law,
   constitute the "same offense" under the Double Jeopardy Clause. Id at 164.

   As stated in United States v. Williams, 527 F.3d 1235 (11th Cir. 2008):

   An indictment is multiplicitous if it charges a single offense in more than one count. Ward v.
   United States, 694 F. 2d 654, 660-61 (11th Cir. 1983) (quoting United States v. De La Torre,
   634 F.2d 792, 794 (5th Cir. 1981)). A multiplicitous indictment not only subjects the
   defendant to numerous sentences for one offense, but also "prejudice[s] the defendant and
   confuse[s] the jury by suggesting that not one but several crimes have been committed."
   United States v. Hearod, 499 F. 2d 1003, 1005 (5th Cir. 1974) (per curiam). A multiplicitous
   indictment therefore violates the principles of double jeopardy because it gives the jury
   numerous opportunities to convict the defendant for the same offense. Id. at 1240.

   One established test for determining whether two offenses are sufficiently distinguishable to

permit the imposition of cumulative punishment was stated in Blockburger v. United States, 284,

U.S. 299, 304 (1932):

       "The applicable rule is that where the same act or transaction constitutes a violation of
       two distinct statutory provisions, the test to be applied to determine whether there are two
       offenses or only one, is whether each provision requires proof of a fact which the other
       does not. . . ."

As stated by the Brown Court:

       Applying the Blockburger test, we agree with the Ohio Court of Appeals that joyriding
       and auto theft, as defined by that court, constitute "the same statutory offense" within the

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       meaning of the Double Jeopardy Clause….As is invariably true of a greater and lesser
       included offense, the lesser offense — joyriding — requires no proof beyond that which
       is required for conviction of the greater — auto theft. The greater offense is therefore by
       definition the "same" for purposes of double jeopardy as any lesser offense included in it.

       "There is `no bright line . . . dividing charges comprising a single offense from those

comprising separate and distinct offenses.'" United States v. Kennedy, 726 F. 2d 546, 547 (9th

Cir. 1984) (quoting United States v. UCO Oil Co., 546 F. 2d 833, 835 (9th Cir. 1976), cert.

denied, 430 U.S. 966, 97 S. Ct. 1646, 52 L.Ed.2d 357 (1977)).

       B. The I&A Fail the Rules Against Multiplicity in Many Ways and the Court Should
          Dismiss the I&A on Such Basis


       In the instant case, multiplicity issues arise at several levels. Under Brown, 18 USC

§1752(a)(1) should be read as a lesser included offense of 18 USC §1752(a)(2). Mr. Vo should

not be subjected to two sets of additive penalties. Under Brown and Kennedy, multiplicitous

language in two statutes do not need be exactly the same but rather functionally similar. A

simple comparison of 18 USC §1752(a)(2) and 40 USC §5104(e)(2)(D), particularly with respect

to the allegations in the Affidavit, indicate the Government is seeking to apply functionally

similar language under two statutes to a single offense. Indeed, while there are differences in

statutory language in certain respects, the Government seems to be arguing a single instance of

conduct suffices for 4 criminal offenses. As discussed above the Information should be

dismissed under both Fed. R. Crim. P. 12(b)(3)(B)(iii) and (v).




                                         CONCLUSION

       For the forgoing reasons, Mr. Vo respectfully request that the Court enter an order

dismissing the Information as detailed above.



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Dated: June 29, 2022                                 Respectfully submitted,

                                                     A.J. KRAMER
                                                     FEDERAL PUBLIC DEFENDER


                                                     ______/s/__________________
                                                     Maria N. Jacob
                                                     Assistant Federal Public Defender
                                                     D.C. Bar No. 1031486
                                                     625 Indiana Ave. NW, Ste. 550


                                                     Nandan Kenkeremath
                                                     DC Bar 384732
                                                     USDC DC 384732

                                                     Counsel for Defendant


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 29, 2022, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to the following CM/ECF participants. From my review of the PACER/ECF

docket records for this case that the following attorneys will receive notice through the ECF

system of the U.S. District Court for the District of Columbia.

June 29, 2022




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